                 Case: 1:20-cv-04402 Document #: 32 Filed: 08/24/20 Page 1 of 2 PageID #:1780
AO 440 (Rev. 05/00) Summons in a Civil Action



                                       UNITED STATES DISTRICT COURT
                                                    NORTHERN DISTRICT OF ILLINOIS



                                                                           SUMMONS IN A CIVIL CASE
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                                                                 CASE NUMBER:       FY
                                V.                               ASSIGNED JUDGE:
                                                                                    0DU\ 0 5RZODQG
 7+( 3$571(56+,36 DQG                                            DESIGNATED
 81,1&25325$7(' $662&,$7,216                                     MAGISTRATE JUDGE: -HIIUH\ &XPPLQJV
 ,'(17,),(' 21 6&+('8/( ³$´


                    TO: (Name and address of Defendant)
       7KH 3DUWQHUVKLSV DQG DOO RWKHU 'HIHQGDQWV LGHQWLILHG LQ WKH &RPSODLQW




          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

                 $P\ & =LHJOHU
                 -XVWLQ 5 *DXGLR
                 -DNH 0 &KULVWHQVHQ
                 7KRPDV - -XHWWQHU
                 *UHHU %XUQV &UDLQ /WG
                  6RXWK :DFNHU 'ULYH 6XLWH 
                                                                               
an answer to the complaint which is herewith served upon you,                                days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.




     THOMAS G. BRUTON, CLERK
                          RK

                                                                                    August 17, 2020
                                                                                    Augus
     (By) DEPUTY CLERK                                                              DATE
                  Case: 1:20-cv-04402 Document #: 32 Filed: 08/24/20 Page 2 of 2 PageID #:1781
AO 440 (Rev. 05/00) Summons in a Civil Action
                                                                 RETURN OF SERVICE
                                                                                        DATE
          Service of the Summons and complaint was made by me(1)                        August 24, 2020
NAME OF SERVER (PRINT)                                                                  TITLE
Thomas J. Juettner                                                                      Attorney of Record
   Check one box below to indicate appropriate method of service

          G Served personally upon the defendant. Place where served:




          G Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and
            discretion then residing therein.
              Name of person with whom the summons and complaint were left:

          G Returned unexecuted:




          x Other (specify):       I electronically published the Amended Complaint, TRO, Summons and other relevant documents
          G
              on a website. I sent an e-mail to the e-mail addresses identified in Exhibit 2 to the Declaration of Jason Groppe

              and any e-mail addresses provided for Defendants by third parties that includes a link to said website.



                                                            STATEMENT OF SERVICE FEES
TRAVEL                                                SERVICES                                                    TOTAL



                                                              DECLARATION OF SERVER

                   I declare under penalty of perjury under the laws of the United States of America that the foregoing information
          contained in the Return of Service and Statement of Service Fees is true and correct.

                                                                                                          Digitally signed by Thomas J. Juettner



          Executed on     August 24, 2020                       Thomas J. Juettner                        DN: cn=Thomas J. Juettner, o=Greer, Burns, & Crain Ltd., ou,
                                                                                                          email=tjjuettner@gbc.law, c=US
                                                                                                          Date: 2020.08.24 10:52:36 -05'00'


                                        Date                    Signature of Server



                                                                300 South Wacker Drive, Suite 2500, Chicago, Illinois 60606
                                                                Address of Server




(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.
